      Case 1:19-cv-01974-TNM Document 1-5 Filed 07/02/19 Page 1 of 3




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF REPRESENTATIVES,
1102 Longworth House Office Building
Washington, D.C. 20515,

                             Plaintiff,

           v.                                         Case No. 1:19-cv-1974

UNITED STATES DEPARTMENT OF
THE TREASURY,
1500 Pennsylvania Avenue N.W.
Washington, D.C. 20220, et al.,

                             Defendants.




                            Exhibit E
                                 Case 1:19-cv-01974-TNM Document 1-5 Filed 07/02/19 Page 2 of 3
     RI CHARD E. NEAL,
     MASSACHUSETIS,
         CHAIRMAN
                                            <!Congress of tbe ~ntteb $tates                                      KEVIN BRADY,
                                                                                                                    TEXAS,
                                                                                                               RANKING MEMBER

JOH N LEW IS, GEORGIA
LLOYD DOGGETT, TEXAS
                                                11.~. J!,ouse of 11\epresentattbes                       DEVIN NUNES, CALIFORNIA
                                                                                                         VERN BUCHANAN , FLORIDA
M IKE THOMPSON, CALIFORNIA                                                                               ADRIAN SMITH, NEBRASKA
JOHN B. LARSON , CONNECTICUT                       COMMITIEE ON WAYS AND MEANS                           KENNY MARCHANT, TEXAS
EARL BLUMENAUER, OREGON                                                                                  TOM REED. NEW YORK
RON KIND, WISCONSIN                               1102 L ONGWORTH H OU SE OFFICE BU ILDING               MIKE KELLY, PENNSYLVANIA
BILL PASCRELL JR.. N EW JERSEY                                                                           GEORGE HOLDING. NORTH CAROLINA
DANNY K. DAVIS , ILLINOIS
                                                             (202 ) 225- 3625                            JASON SMITH, MISSOURI
LINDA T. SANCHEZ, CALIFORNIA                                                                             TOM RICE, SOUTH CAROLINA
BRIAN HIGG INS, NEW YORK
TERRI A. SEWELL, ALABAMA
                                                   'almasbington, 1JBQC 20515-0348                       DAVID SCHWEIKERT, ARIZONA
                                                                                                         JACKIE WALORSKI, INDIANA
SUZAN DELBENE, WASHINGTON                                                                                DARIN LAHOOD, ILLINOIS
JU DY CHU, CALI FORNIA                                 http://waysandmeans.house.gov                     BRAD R. WENST RUP, OHIO
GWEN MOORE, W ISCONS IN                                                                                  JODEY ARRINGTON, TEXAS
DAN KILDEE , MICHIGAN                                                                                    DREW FERGU SON, GEORGIA
BRE N DAN BOYLE, PE NNSYLVANIA                                                                           AON ESTES, KANSAS
DON BEYEA. VIRGINIA
DWIGHT EVANS, PENNSYLVANIA                                                                               GARY ANDRES,
BRAD SCHNEIDER, ILLIN OIS
                                                                                                            MINORITY STAFF DIRECTOR
TOM SUOZZI, NEW YORK
JIMMY PANETTA, CALIFORNIA
STEPHANIE MURPHY, FLORIDA
JIMMY GOMEZ, CALIFORN IA
STEVEN HORSFORD, NEVADA
                                                             April 13, 2019
BRA N DON CASEY,
    MAJORITY STAFF DIRECTOR




              The Honorable Charles P. Rettig
              Commissioner
              Internal Revenue Service
              1111 Constitution A venue, NW
              Washington, D.C. 20224

              Dear Commissioner Rettig:

                      On April 3, 2019, pursuant to my authority under section 6I03(f) of the Internal Revenue
              Code ("IRC"), I requested that the Internal Revenue Service ("IRS") furnish certain return and
              return information by April 10, 2019. As I explained in my earlier letter, that request is in
              furtherance of consideration by the Committee on Ways and Means (" Committee") of legislative
              proposals and oversight related to our Federal tax laws, including, but not limited to, the extent to
              which the IRS audits and enforces the Federal tax laws against a President.

                     I am aware that concerns have been raised regarding my request and the authority of the
              Committee. Those concerns lack merit. Moreover, judicial precedent commands that none of the
              concerns raised can legitimately be used to deny the Committee' s request.

                         First , it bears noting that the statutory language of section 6103(f) is unambiguous and
              raises no complicated legal issues that warrant supervision or review by the Department of the
              Treasury ("Treasury") or the Department of Justice ("Justice"). Section 6103(f) commands that
              "[u]pon written request from the chairman of the Committee on Ways and Means of the House of
              Representatives . . . the Secretary shall furnish such committee with any return or return
              information specified in such request." 26 U.S.C. § 6103(f)(l) (emphasis added). It is a well-
              established principle of statutory interpretation that words that are neither terms of ati nor
              statutorily defined be given their ordinary meaning. Here, the statute' s use of the "mandatory
              ' shall ' ... creates an obligation impervious to judicial discretion. " Lexecon, Inc. v. Mi/berg Weiss
              Bershad Hynes & Lerach, 523 U.S. 26, 35 (1998); see also, e.g. , EPA v. EME Homer City
              Generation, 572 U.S. 489,509 (20 14); Barnhartv. Sigmon Coal Co., 534 U.S. 438, 461-62 (2002)
              (courts "must presume that a legislature says in a statute what it means and means in a statute what
              it says there." (internal quotation marks omitted)).

                    Second, there is no valid basis to question the legitimacy of the Committee' s legislati ve
             purpose here. The Supreme Court has instructed that Congress' s power to investigate is "broad"
          Case 1:19-cv-01974-TNM Document 1-5 Filed 07/02/19 Page 3 of 3

Co1mnissioner Rettig
April 13, 2019
Page 2

and "encompasses inquiries concerning the administration of existing laws as well as proposed or
possibly needed statutes." Watkins v. United States, 354 U.S. 178, 187 (1957).

        It is not the proper :function of the IRS, Treasury, or Justice to question or second guess the
motivations of the Committee or its reasonable determinations regarding its need for the requested
tax returns and return information. Indeed, the Supreme Court has consistently noted that the
motivations underlying Congressional action are not to be second guessed, even by the courts.
Eastland v. US. Servicemen 's Fund, 421 U.S . 491 , 509 (1975) ("The wisdom of congressional
approach or methodology is not open to judicial veto. "); Watkins, 354 U.S . at 200 ("But a solution
to our problem is not to be found in testing the motives of committee members for this purpose.
Such is not our :function."); Barenblatt v. United States, 360 U.S. 109, 132 (1959) ("So long as
Congress acts in pursuance of its constitutional power, the Judiciary lacks authority to intervene
on the basis of the motives which spurred the exercise of that power.").

        Comis have held that, where "a rational legislative purpose is present for investigating a
particular person, organization, or institution[,] [t]here is no requirement that every piece of
information gathered in such an investigation be justified before the judiciary." McSurely v.
McClellan, 521 F.2d 1024, 1041 (D.C. Cir. 1975); see also Townsend v. United States, 95 F.2d
352, 361 (D.C. Cir. 1938). "A legislative inquiry may be as broad, as searching, and as exhaustive
as is necessary to make effective the constitutional powers of Congress." Townsend, 95 F.2d at
361. Furthermore, the Supreme Comi has expressly recognized that "[t]o be a valid legislative
inquiry there need be no predictable end result." Eastland, 421 U.S. at 509.

        Third, concerns about what the Committee may do with the tax returns and return
information are baseless. As my April 3rd letter noted, this request falls squarely within the
Committee' s oversight authority. It is well-established law in the D.C. Circuit that " [t]he
presumption of regularity supports the official acts of public officers and, in the absence of clear
evidence to the contrary, comis presume that they have properly discharged their official duties."
Sussman v. US. Marshals Serv., 494 F .3d 1106, 1117 (D .C. Cir. 2007) (citation omitted); Exxon
Corp. v. FTC, 589 F.2d 582, 589 (D.C. Cir. 1978) ("committees of Congress will exercise their
powers responsibly and with due regard for the rights of affected parties."). In other words, the
IRS, Treasury, and Justice must assume that the Committee Members, like all govermnent
officials, will act properly in the conduct of their official duties.

        To date, the IRS has failed to provide the requested return and return information despite
an unambiguous legal obligation to do so under section 6103(f). I expect a reply from the IRS by
5 :00 p.m. on April 23, 2019. Please know that, if you fail to comply, your failure will be interpreted
as a denial of my request.

       Thank you for your prompt attention to this matter.




                                              The Honorable Richard E. Neal, Chairman
